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                     EXHIBIT 26
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                                                 CITY OF HOUSTON - CITY COUNCIL
                                                                 Meeting Date:
                                                                      ALL
                                                          Item Creation Date: 5/11/2023

                                          L32680 Dinner to Home (Bread of Life, Inc.) ORDINANCE

                                                                  Agenda Item#:




Summary:
NOT A REAL CAPTION
ORDINANCE awarding a contract to Bread of Life, Inc. for an initial funding amount of $150,000.00 and a maximum contract amount of
$187,200.00 for the Dinner to Home Program for the Mayor's Office for Homeless Initiatives Development - 1 year with 1 one-year
option.
Background:
Formal Bids Received April 20, 2023, for P18-S32680 - Approve an ordinance awarding a contract to Bread of Life, Inc. for an initial
funding amount of $150,000.00 and a maximum contract amount of $187,200.00 for the Dinner to Home Program for the Mayor's Office
for Homeless Initiatives.


SPECIFIC EXPLANATION
The Mayor's Office of Homeless Initiatives and the Chief Procurement Officer recommend that City Council approve an ordinance
awarding a one-year contract with one one-year option to renew to Bread of Life, Inc. for an initial funding amount of $150,000.00
and a maximum contract amount of $187,200.00 for the Dinner to Home Program for the Mayor's Office for Homeless Initiatives. The
initial funding amount will fund the first year and a portion of the one-year renewal option; the Mayor’s Office for Homeless Initiatives will
return to City Council if additional funding becomes available to fund the remaining term of the renewal. The Special Assistant to the
Mayor for Homeless Initiatives may terminate the contract at any time by giving thirty (30) days written notice to the Contractor, with a
copy of the notice to the CPO.

The American Rescue Plan Act (ARPA) is a federal law that was signed into law on March 11, 2021 and was purposed to address the
COVID-19 pandemic disaster relief on a national level. ARPA funds will be utilized for the services set out in this agreement. Contractor
will be required to comply with all laws and regulations associated with these funds.

Bread of Life, Inc., through the Dinner to Home Program, will provide a hot meal to approximately 100 individuals who are homeless at a
city-owned location at 61 Reisner St., Houston, TX 77002 for four (4) days of the week (Sun, Mon, Wed, Fri). Dinner will be served
from 7:00 pm – 8:00 pm. The Contractor will provide tables, chairs, trash receptacles, water, and portable restrooms during each meal
service. The Contractor will also conduct onsite housing assessments for those individuals receiving meals who may not otherwise have
an opportunity to engage with the housing system.

The project was advertised in accordance with the State of Texas bid laws. Seven prospective bidders downloaded the solicitation document
from SPD's e-bidding website and four bids were received as outlined below:

Company         Total Amount
1. Bread of Life, Inc.   $187,200.00
2. Careers Recovery Resources     $270,400.00
3. AYG Food Services DBA The Halal Guys $477,984.00
4. Charmains Southern Food Flare $202,945,600.00


MWBE Participation:
Zero-Percentage Goal document approved by the Office of Business Opportunity.

Hire Houston First:
Hire Houston First does not apply to this expenditure because it involves the use of federal funds and is subject to specific procurement
rules of the federal government.

Fiscal Note:
No Fiscal Note is required on grant items.


The American Rescue Plan Act (ARPA) is a federal law that was signed into law on March 11, 2021 and was purposed to address the COVID-
19 pandemic disaster relief on a national level. ARPA funds will be utilized for the services set out in this agreement. The Contractors will be




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19 pandemic disaster relief on a national level. ARPA funds will be utilized for the services set out in this agreement. The Contractors will be
required to comply with all laws and regulations associated with these funds.



_______________________________________                          ________________________
Jedediah Greenfield, Chief Procurement Officer                    Department Approval Authority


              Estimated Spending Authority
  Department       FY24       Out Years       Total
 Mayor's Office $150,000.00 $37,200.00     $187,200.00


Amount and Source of Funding:
$150,000.00 - ARPA Recovery Fund (Fund 5039)

Contact Information:
 Lena Farris                                    832-393-8729
 Candice Gambrell,                              832-393-9129
 Jedediah Greenfield                            832-393-9126

ATTACHMENTS:
Description                                                               Type
Certification of Funds                                                    Financial Information
Fiscal Form A                                                             Financial Information
L32680 MWBE Waiver                                                        Backup Material
Ownership Forms                                                           Backup Material
Bid Tabulation                                                            Backup Material
Conflict of Interest COI                                                  Backup Material
Cleared Tax Report                                                        Backup Material
Insurance                                                                 Backup Material
Drug Policy Compliance                                                    Backup Material
Delinquent Tax Receipt                                                    Backup Material




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